Case 1:25-cv-01053-JMC   Document 1-9   Filed 04/08/25   Page 1 of 3




                     Exhibit 9
               Case 1:25-cv-01053-JMC          Document 1-9        Filed 04/08/25      Page 2 of 3


          Outlook


Request to narrow CBP-FO-2025-063486

From Jones, Nate <Nate.Jones@washpost.com>
Date Fri 2/21/2025 12:27 PM
To        cbpfoiapublicliaison@cbp.dhs.gov <cbpfoiapublicliaison@cbp.dhs.gov>; CBP FOIA <cbpfoia@cbp.dhs.gov>


Hello,

Thank you.

I amend my request to:
All passenger manifests and aircraft flight logs and similar records for all helicopter flights conducted by
Customs and Border Protection, Air and Marine Operations operating in the Washington DC area,
including flights that take off from or land at Quantico, Ft Meade, and other bases in the DC area.
The date range for this request is January 1, 2017 until the present.

Please confirm you are processing my request and provide an estimated date of completion as required
by 5 USC § 552(a)(7)(B)(ii).

Thank you,

Nate

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Your office previously wrote in an email:


Nate
Jones
The Washington Post
1301 K St. NW
Washington, District of Columbia 20071
nate.jones@washpost.com

02/18/2025

Dear Nate Jones:

After careful review of your FOIA request, CBP-FO-2025-063486, we have determined that your
 request is too broad in scope or did not specifically identify the records which you are seeking. FOIA is
not a search mechanism. Records must be described in reasonably sufficient detail to enable
government employees who are familiar with the subject area
 to locate records without placing an unreasonable burden upon the agency. For this reason, §5.3(b) of
the DHS regulations, 6 C.F.R. Part 5, require that you describe the records you are seeking with as much
information as possible to ensure that our search
          Case 1:25-cv-01053-JMC Document 1-9                Filed 04/08/25     Page 3 of 3
can locate them with a reasonable amount of effort.

You can narrow the scope of your request as it could significantly reduce the processing time. Please
confirm if you are seeking all records of CBP helicopters operating in the Washington DC
 area for the timeframe of January 1, 2017 through February 11, 2025?

If you are willing to modify the scope of your request, please respond to this email by contacting the
FOIA Division via your SecureRelease account or for best results via email
 to cbpfoiapublicliaison@cbp.dhs.gov. Please be sure to include the following information in the subject
line of your email: Request to narrow CBP-FO-2025-063486. Although an email to the above address is
the best means to contact the office, you may also call
 (202) 325-0150 and leave a message, we will return your call as soon as possible. Or write to:

CBP FOIA Division
1300 Pennsylvania Avenue, NW MS 1181
Washington, DC 20229

We will stop the clock on your request while we await your response.
Please note, email requests currently take 12 months to four years to process. The FOIA Public Liaison
may further assist in advising on the requirements for submitting a request, and narrowing the scope of
a request, advising the requester on the type of
records to request, suggesting agency offices that may have responsive records, and receive questions
or concerns about the agency’s FOIA process.

We sincerely apologize for the delay you are experiencing and appreciate your continued patience while
we work together to clarify and narrow the scope of your request.

Please note that this message has been sent from an unmonitored e-mail account. Any messages sent to
this account will not be read.

Sincerely,

FOIA Division
U.S. Customs
 and Border Protection




Nate Jones
FOIA Director
The Washington Post
@FOIANate
